Case 6:14-cr-00268-JA-KRS Document 70 Filed 10/19/20 Page 1 of 4 PagelD 297

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

VS. CASE NO: 6:14-cr-268-Orl-28KRS
LARRY AUGUST LEE, JR

 

ORDER

 

Defendant Larry August Lee, Jr.’s Motion for Compassionate Release (Doc. 66) is
before the Court for consideration. Lee exhausted his administrative remedies and timely
filed his motion. (Doc. 66-1 at 8). The Government filed a response opposing the
requested relief. (Doc. 69). Because Lee has not established the existence of
“extraordinary and compelling reasons” for compassionate release, his motion is due to be
denied.

Lee pled guilty to attempted possession with intent to distribute 500 grams or more
of cocaine in violation of 21 U.S.C. § 846, (Doc. 38), and was sentenced on July 15, 2015,
to 120 months imprisonment to be followed by four years of supervised release, (Docs. 54;
55). Lee, a forty-nine-year-old male at the time of his motion, is projected to be released

on July 8, 2022. (Docs. 66 at 1, 3; 69 at 2).

In his current motion, Lee requests compassionate release under 18 U.S.C.

 

§ 3582(c). However, Defendant cannot demonstrate “extraordinary and compelling
reasons” warranting release. The Sentencing Commission’s policy statement defines
“extraordinary and compelling reasons” to include certain specified categories of
medical conditions. U.S.S.G. § 1B1.13, cmt. n.1(A). Those categories include (i) any

terminal illness, and (ii) any “serious physical or medical condition ... that substantially

 
Case 6:14-cr-00268-JA-KRS Document 70 Filed 10/19/20 Page 2 of 4 PagelD 298

 

 

diminishes the ability of the defendant to provide self-care within the environment of a
correctional facility and from which he or she is not expected to recover.” /d. Even
when an extraordinary and compelling reason exists, however, this court should only
reduce a term of imprisonment if it determines that the defendant is not a danger to the
public. U.S.S.G. § 1B1.13(2). And this court must consider whether the 18 U.S.C.
§ 3553(a) factors weigh in favor of release. See 18 U.S.C. § 3582(c)(1)(A); U.S.S.G.
§1B1.13. |

The COVID-19 pandemic does not fall into any of the above categories. The
categories are serious medical conditions afflicting an individual inmate, not generalized
threats to the entire population. “[T]he mere existence of COVID-19 in society and the
possibility that it may spread to a particular prison alone cannot independently justify
compassionate release ... .” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020);
see also United States v. Gileno, 448 F. Supp. 3d 183, 188 (D. Conn. 2020) (denying
compassionate release because BOP’s proposed plan adequately addressed the
COVID-19 pandemic).

“[I]t is a rare case in which health conditions present an ‘exceptional reason.”
United States v. Wages, 271 F. App’x 726, 728 (10th Cir. 2008) (considering pre-
sentencing detention). Lee asserts that he suffers from hypertension and pre-diabetes,
and that these ailments make him more vulnerable to becoming seriously ill should he
contract COVID-19. (Doc. 66 at 1). His BOP records indicate that he takes medication
for hypertension but do not reflect pre-diabetes. (Doc. 66-1).

The CDC advises that hypertension might increase one’s risks of suffering severe

 
Case 6:14-cr-00268-JA-KRS Document 70 Filed 10/19/20 Page 3 of 4 PagelID 299

illness from Covid-19.1 However, the condition is not extraordinary. “According to the
CDC, 108 million adults in the United States (nearly 45%) have high blood pressure or
take medication for the condition.” United States v. Hayes, No. 3:18-cr-37-J-34JBT,
2020 WL 3611485, at * 2 (July 2, 2020, M. D. Fla.). “Assuming federal prisoners
experience [this] condition[ ] at about the same rate as the general population,” if [it]
qualified as an extraordinary and compelling reason, roughly half the prison population
would be eligible for compassionate release.” /d. Further, Lee has not contracted Covid-
19, (Doc. 66 at 1), and no inmates at FC! Butner Medium | are currently positive for the
virus, (Doc. 69).

Defendant has not identified a medical condition that falls within one of the
categories specified in the Sentencing Commission's policy statement’s application note.
He does not have a terminal illness and he is able to provide self-care. Courts are
prohibited from granting compassionate release unless “such a reduction is consistent with
applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.
§ 3582(c)(1)(A); Dillon v. United States, 560 U.S. 817, 821 (2010).

Further, this Court should only reduce a term of imprisonment if it determines that
Lee is not a danger to the public and the 18 U.S.C. § 3553(a) factors weigh in favor of
release. See 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. After considering the section
3553(a) factors and Defendant's criminal history, the Court determines that Defendant is a
danger to the public and the section 3553(a) factors do not weigh in favor of release.

When sentenced, Lee had a total offense level of thirty-one, a criminal history

category VI, and career offender status. (Docs. 49; 55). Like the offense for which he is

 

1 https:/Avww.cdc.gov.

 
 

 

Case 6:14-cr-00268-JA-KRS Document 70 Filed 10/19/20 Page 4 of 4 PagelD 300

currently imprisoned, at least two of Lee’s prior offenses involved the sale or possession
of cocaine. (Doc. 55). Lee’s prison medical records reflect that he has substance abuse
disorders, (Doc. 66-1 at 2), and while incarcerated, Lee twice was disciplined in 2018 for
possessing alcohol or intoxicants. (Doc. 69-1).

While the Court is sympathetic to the plight of those in prison during this pandemic,
it cannot unreservedly release the prison population. Each individual is unique and must
present extraordinary and compelling circumstances for this Court to allow a sentence
reduction. The mere possibility of becoming infected with Covid-19 applies to the entire

prison population, and the Court finds no added compelling and extraordinary

 

circumstances to grant a sentence reduction in Lee's case.
Accordingly, having considered the above and the relevant factors of 18 U.S.C.
§ 3553(a), Lee’s Motion for Compassionate Release (Doc. 66) is DENIED.

DONE and ORDERED in Orlando, Florida on October /7 , 2020

(a .

JOHN ANTOON II
United States District Judge

 

Copies furnished to:

United States Attorney

United States Probation Office
Larry August Lee, Jr

 
